   Case 4:22-cv-00418-ALM Document 3 Filed 05/17/22 Page 1 of 4 PageID #: 89



                                     Cause No. 22-2391-467



FRENCH CROOK,III, as TRUSTEE OF THE                         IN THE DISTRICT COURT
HARBOR LIGHTS 2625 LAND TRUST

       Vs
                                                            DENTON COUNTY,TEXAS

AMERIHOME MORTGAGE COMPANY,
LLC.                                                        467th JUDICIAL DISTRICT


         PLAINTIFF'S FIRST AMENDED VERIFIED ORIGINAL PETITION AND
               APPLICATIO FOR TEMPORARY RESTRAINING ORDER

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW TREY CROOK as, TRUSTEE of the CHAPEL HILL 801 LAND TRUST,and
files this Original Petition claiming for causes of action against Defendant:



                                    RULE 47 STATEMENT

This suit does not seek monetary damages, but involves title to real estate whose value is more

than $100,000 but less than $200,000.

                                                II

                                     DISCOVERY LEVEL

Plaintiff intends to conduct discovery under Level 2, T.R.Civ.Pro. Rule 190

                                               IH

                                           PARTIES


   1. Plaintiff is TREY CROOK,an individual residing in Dallas County, Texas. Plaintiff sues

       in its capacity as Trustee of the HARBOR LIGHTS 2625 LAND TRUST..

   2. Defendant is A.
   Case
    Case4:22-cv-00418-ALM
          4:22-cv-00418 Document
                           Document
                                 1-6 3 Filed
                                         Filed05/17/22
                                               05/17/22 Page
                                                         Page3 2ofof5 4PageID
                                                                        PageID#:#:3190



                                                 Iv

                                              VENUE

This suit concerns title to property in this County; and therefore, venue is mandatory in this

County.

                                                  V

                                               FACTS


    1. Plaintiff is the owner in fee simple of that parcel of real estate ("the property") described

         as:


                  "Lot 11, Block 1 of Robinson Ridge,Phase 2„ an Addition to the town of
                  Little Elm,Denton County, Texas, according to the plat thereof recorded in
                  Cabinet V, Slide 282, Plat Records of Denton County, Texas, and more
                  commonly known as 2625 Harbor Lights Drive, Little Elm, Tx., 75068.
    2. Plaintiff acquired its interest in the property by virtue of an Assessment Lien Deed

         recorded on October 5, 2021, and recorded as instrument No. 2021-188342.'

    3. Plaintiffs predecessor in interest is Roberto C. Alcala, who purchased the property on or

         about November 10, 2017, and recorded her deed as Instrument No. 2017-139190. in the

         property records of this County.

    4. At the time he acquired the property he executed a purchase money deed of trust in favor

         of Mortgage Electronic Registration Systems,Inc. as nominee for Mortgage Financial

        Services, LLC,recording the Instrument No. 2017-139191..

    5. The said deed of trust was subsequently assigned to Defendant. The assignment is

         recorded as instrument No. 2019-46036, and was recorded on April 26,2019.




I See Exhibit 1
Case
 Case4:22-cv-00418-ALM
       4:22-cv-00418 Document
                        Document
                              1-6 3 Filed
                                      Filed05/17/22
                                            05/17/22 Page
                                                      Page4 3ofof5 4PageID
                                                                     PageID#:#:3291



6. Plaintiff owns the right to equitable redemption. Plaintiff seeks to enforce its right

    thereto, and to receive from defendant an accounting of all sums due under the mortgage

    note, if any; and further, Plaintiff seeks to enforce its right to pay off said note.

7. Plaintiff has been unable to receive from Defendant(1)verification that it still holds the

    deed of trust and Note;(2)any amounts needed to cure a default; or(3)the amounts due

    in order to fully pay off the note.

8. Plaintiff has invested substantial money in the acquisition of the property.

9. Plaintiff has learned that Defendant intends to foreclose the property on April 5, 2022.

10. If Defendant is allowed to proceed with foreclosure without affording Plaintiff the

   opportunity to pay off the Note or cure any default, Plaintiff will suffer irreparable

    hannd.

                                                 VI

                                    CAUSE OF ACTION

                                EQUITY OF REDEMPTION


1. Plaintiff refers to and incorporates by this reference each allegation above.

2. As the purchaser of the property at a junior lien sale, Plaintiff has the right to pay off or

    discharge any senior indebtedness.

3. Plaintiff is and has been unable to acquire from Defendant any information relative to the

    lien.

4. Plaintiff prays that the Court Declare that before Defendant may exercise the powers of

    sale under the deed of trust, that it first provide information sufficient to allow plaintiff to

    pay off or service any loan secured thereby.
   Case
    Case4:22-cv-00418-ALM
          4:22-cv-00418 Document
                           Document
                                 1-6 3 Filed
                                         Filed05/17/22
                                               05/17/22 Page
                                                         Page5 4ofof5 4PageID
                                                                        PageID#:#:3392



   5. In the event that Defendant is unable to authenticate its interest in the Note and Deed of

       Trust, then Plaintiff would pray, in the alternative, for a Decree of Quiet Title, holding

       that he owns the property free of the deed of trust.


                                                 VII

                  APPLICATION FOR EMERGENCY INJUNCTIVE RELIEF


    1. Plaintiff refers to and incorporates by this reference each allegation above.

   2. Defendant has posted the property for foreclosure on the first Tuesday of April, 2022.

   3. If Defendant is allowed to proceed, Plaintiff will suffer irreparable harm.

   4. Plaintiff prays that Defendant be immediately enjoined from taking any step to foreclose

       the property; and, that upon notice and hearing, such injunction be continued as a

       Temporary Injunction pending final resolution of this case.


WHEREFORE,PREMISES CONSIDERED,Plaintiff prays that Defendant be immediately

enjoined from proceeding to foreclose the property the subject of this case, that such TRO be

continued as a Temporary Injunction; and, that Defendant be cited to answer and appear herein,

and that upon final trial the Court decree that Defendant holds no interest or lien against the

property, that Plaintiff owns the property free and clear of the deed of trust referenced above, for

attorney fees, costs of court, and for such other and further relief as the Court deems just.

       Respectfully submitted,

                                              LAW OFFICES OF KENNETH S. HARTER

                                              /s/ Kenneth S. Harter
                                              Kenneth S. Harter
                                              State Bar ID 09155300
                                              5080 Spectrum Dr. Suite 1000-E.
                                              Addison, Tx. 75001
                                             (972)752-1928
                                              FAX(214)296-1491
